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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

LINDSAY WARD,                                  §
                                               §
                                               §
Plaintiff,                                     §
                                               §
v.                                             §
                                               §         CIVIL ACTION NO. 6:19-cv-00337
TEXAS FARM BUREAU, TEXAS FARM                  §
BUREAU BUSINESS CORPORATION,                   §          JURY TRIAL DEMANDED
TEXAS FARM BUREAU CASUALTY                     §
INSURANCE COMPANY, TEXAS                       §
FARM BUREAU MUTUAL                             §
INSURANCE COMPANY, TEXAS                       §
FARM BUREAU UNDERWRITERS,                      §
FARM BUREAU COUNTY MUTUAL                      §
INSURANCE COMPANY OF TEXAS,                    §
SOUTHERN FARM BUREAU LIFE                      §
INSURANCE COMPANY, SLOAN                       §
BROWN, JUSTIN INGRAM, and JON                  §
SHARP,                                         §
                                               §
Defendants.                                    §

             PLAINTIFF’S ORIGINAL COMPLAINT & JURY DEMAND
                                      INTRODUCTION

       Plaintiff Lindsay Ward brings this case against Farm Bureau for wrongful retaliation.

Farm Bureau fired her after she refused to perjure herself in an affidavit Farm Bureau wanted to

use to help defend against a lawsuit to recover overtime. Ward was one of Farm Bureau’s agency

managers when her colleagues sued Farm Bureau for unpaid overtime under the Fair Labor

Standards Act. That case, which involves many of the same Defendants, is pending before the

Court. See Ferguson v. Texas Farm Bureau, et al., Cause No. 6:17-cv-111-RP. In Ferguson,

agency managers, like Ward, moved for conditional certification of a collective action under the
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FLSA—alleging they were categorically misclassified as exempt independent contractors and

not paid overtime. To help oppose conditional certification, Farm Bureau solicited “happy

camper” affidavits from their agency managers that distorted the mangers’ working conditions to

seem more independent. Ward received her pre-drafted “happy camper” affidavit one afternoon

and was instructed to sign it by 5:00 p.m. that same day. A member of her agency’s county board

even called her and warned that, according to Farm Bureau superiors, if she did not sign the

affidavit she would be terminated within 30 days. Ward reviewed the affidavit and found it was

misleading and false. She refused to lie about her working conditions and did not sign. True to its

threat, Farm Bureau fired her about a month later.

       While this case is also about overtime, this case concerns an existential threat to a law

designed to guarantee qualified employees minimum wage and overtime. The FLSA depends on

employees voicing their complaints at work and enforcing their rights in court. As the Supreme

Court has recognized, the FLSA enforces wage, hours, and overtime standards not through

continuing detailed federal supervision or payroll inspections but upon information and

complaints received from employees seeking to vindicate rights their employers denied. Kasten

v. Saint-Gobain Performance Plastics Corp., 563 U.S. 1, 11–12 (2011). The FLSA’s

antiretalition provision makes this enforcement scheme possible by preventing fear of economic

retaliation that would otherwise induce workers to quietly accept substandard conditions. Id.

Farm Bureau fired Ward for not perjuring herself in a way that imperiled her own rights under

the FLSA and misled the Court deciding the case of agency managers who would not quietly

accept Farm Bureau’s working conditions. Farm Bureau’s retaliation violates the FLSA.



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                     SUBJECT-MATTER JURISDICTION AND VENUE
       1.      This Court has jurisdiction over the subject matter of this action under 29 U.S.C.

§ 216(b) and 28 U.S.C. § 1331.

       2.      Venue is proper in the Western District of Texas because a substantial portion of

the events forming the basis of this suit occurred in this District.


                         PARTIES AND PERSONAL JURISDICTION

       3.      Plaintiff Lindsay Ward is an individual residing in Polk County, Texas.

       4.      Defendant Sloan Brown is an individual residing in McLennan County, Texas.

Brown is Texas Farm Bureau Insurance’s Vice President of Sales for the State of Texas. He has

hiring and firing power for agency managers in Texas. Brown also directed the agency

manager’s (including Ward) working conditions. Upon information and belief, Brown was

involved in the decision to terminate Ward in retaliation for refusing to sign a false affidavit in

support of Defendants’ overtime case in Ferguson. Upon information and belief, Brown also

exercised discretion over agency manager’s compensation (including Ward) by requiring

managers to transfer commissions from their book of business to new agent hires. Furthermore,

upon information and belief, Brown dictated the manner in which agency managers (including

Ward) were to run the agency, including the relationship with the local Farm Bureau County

Board and agent sales requirements. . Upon information and belief, Brown maintains

employment records, including email related to Ward and other agency managers

       5.      Defendant Justin Ingram is an individual residing in McLennan County, Texas.

Ingram is one of two regional sales managers in charge of the State of Texas, and directly reports

to Sloan Brown. Ingram has hiring and firing power for agency managers in his region in Texas,
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including Ward. Ingram also directed the agency managers in his region’s (including Ward)

working conditions. Ingram, along with Jon Sharp, personally terminated Ward in retaliation for

refusing to sign a false affidavit in support of Defendants’ overtime case in Ferguson. Upon

information and belief, Ingram also exercised discretion over agency manager’s compensation

(including Ward) by requiring managers to transfer commissions from their book of business to

new agent hires. Furthermore, upon information and belief, Ingram dictated the manner in which

agency managers (including Ward) were to run the agency, including the relationship with the

local Farm Bureau County Board and agent sales requirements. Upon information and belief,

Ingram maintains employment records, including email related to Ward and other agency

managers.

       6.     Defendant Jon Sharp is an individual residing in Wharton County, Texas. Sharp is

a district sales manager in charge of many counties in Texas and is directly reports to Justin

Ingram and Sloan Brown. Sharp has hiring and firing power for agency managers in his district

in Texas, including Ward. Sharp also directed the agency managers in his district’s (including

Ward) working conditions. Sharp, along with Justin Ingram, personally terminated Ward in

retaliation for refusing to sign a false affidavit in support of Defendants’ overtime case in

Ferguson. Upon information and belief, Sharp also exercised discretion over agency manager’s

compensation (including Ward) by requiring managers to transfer commissions from their book

of business to new agent hires. Furthermore, upon information and belief, Sharp dictated the

manner in which agency managers (including Ward) were to run the agency, including the

relationship with the local Farm Bureau County Board and agent sales requirements. Upon



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information and belief, Sharp maintains employment records, including email related to Ward

and other agency managers.

           7.      Defendant Texas Farm Bureau Business Corporation (“TFB Business Corp.”) is a

Texas corporation, which maintains a presence and corporate address in Waco, McLennan

County, Texas 76712. According to the Texas Farm Bureau’s “General Career Openings”

webpage, it employs “over 820 individuals” in “three companies – Texas Farm Bureau, Texas

Farm Bureau Business Corporation and Texas Farm Bureau Casualty Insurance Company.” The

webpage further describes TFB Business Corp. as “provid[ing] administrative support services to

Texas Farm Bureau and its affiliated insurance companies.” Defendant TFB Business Corp.. may

be served with process by delivering a copy of the Summons and Complaint to its registered

agent, being Si E. Cook, 7420 Fish Pond Road, Waco, Texas 76710-1010, or wherever else he

may be found.

           8.      According to the Texas Farm Bureau’s “Company Information” webpage, its

insurance companies include: (a) Texas Farm Bureau Casualty Insurance Company; (b) Texas

Farm Bureau Mutual Insurance Company; (c) Texas Farm Bureau Underwriters; (d) Farm

Bureau County Mutual Insurance Company of Texas; and (e) Southern Farm Bureau Life

Insurance Company.1 Texas Farm Bureau utilizes letterhead listing these five companies under

the umbrella of the “Texas Farm Bureau Insurance Companies.”




1
    See https://www.txfb-ins.com/about-us/company-information (retrieved May 21, 2019).
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           9.      Defendants’ website further represents that Defendants are “Headquartered in

Waco, Texas,” and the “[l]argest Texas-based insurance provider of auto, home/property,

farm/ranch, life, and health insurance.” 2

           10.     Defendant Texas Farm Bureau Casualty Insurance Company (“TFB Casualty”), is

a Texas insurance company, which provides auto insurance policies and maintains a presence

and corporate address in Waco, McLennan County, Texas 76712. Pursuant to Texas Insurance

Code § 804.101(b), Defendant TFB Casualty may be served with process by delivering a copy of

the Summons and Complaint to the president, an active vice president, secretary or attorney in

fact at Defendant TFB Casualty’s home office or principal place of business, being 7420 Fish

Pond Road, Waco, Texas 76710, or leaving a copy of the process at the same during regular

business hours.

           11.     Defendant Texas Farm Bureau Mutual Insurance Company (“TFB Mutual”) is a

Texas insurance company, which provides home/property insurance policies and maintains a

presence and corporate address in Waco, McLennan County, Texas 76712. Pursuant to Texas

Insurance Code § 804.101(b), Defendant TFB Mutual may be served with process by delivering

a copy of the Summons and Complaint to the president, an active vice president, secretary or

attorney in fact at Defendant TFB Mutual’s home office or principal place of business, being

7420 Fish Pond Road, Waco, Texas 76710, or leaving a copy of the process at the same during

regular business hours.

           12.     Defendant Texas Farm Bureau Underwriters (“TFB Underwriters”) is a Texas

entity providing insurance services, which underwrites insurance policies issued by the other


2
    See https://www.txfb-ins.com/about-us/company-information (retrieved May 21, 2019).
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Defendants and maintains a presence and corporate address in Waco, McLennan County, Texas

76712. Pursuant to Texas Insurance Code § 804.101(b), Defendant TFB Underwriters may be

served with process by delivering a copy of the Summons and Complaint to the president, an

active vice president, secretary or attorney in fact at Defendant TFB Underwriters’ home office

or principal place of business, being 7420 Fish Pond Road, Waco, Texas 76710, or leaving a

copy of the process at the same during regular business hours.

         13.   Defendant Farm Bureau County Mutual Insurance Company of Texas (“FB

County Mutual”) is a Texas insurance company, which provides insurance policies and

maintains a presence and corporate address in Waco, McLennan County, Texas 76712. Pursuant

to Texas Insurance Code § 804.101(b), Defendant FB County Mutual may be served with

process by delivering a copy of the Summons and Complaint to the president, an active vice

president, secretary or attorney in fact at Defendant FB County Mutual’s home office or

principal place of business, being 7420 Fish Pond Road, Waco, Texas 76710, or leaving a copy

of the process at the same during regular business hours.

         14.   Defendant Southern Farm Bureau Life Insurance Company (“SFB Life”) is a

Mississippi insurance company, which provides life insurance policies and maintains a presence

and corporate address in Waco, McLennan County, Texas 76712. Defendant SFB Life may be

served with process by delivering a copy of the Summons and Complaint to its registered agent,

being Bo Wilburn, 7420 Fish Pond Road, Waco, Texas 76710-1010, or wherever else he may be

found.

         15.   Defendant Texas Farm Bureau (“TFB”) is a Texas corporation, which maintains a

presence and corporate address in Waco, McLennan County, Texas 76712. According to its

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website, TFB “is a membership association led by elected volunteers who are agricultural

producers,” and “[m]embers from each of the 13 statewide districts nominate a State Director to

represent their geographic area on the Board of Directors.” Defendant TFB may be served with

process by delivering a copy of the Summons and Complaint to its registered agent, being Si E.

Cook, 7420 Fish Pond Road, Waco, Texas 76710-1010, or wherever else he may be found.


   DEFENDANTS FORM A SINGLE ENTERPRISE AND ARE JOINT EMPLOYERS

       16.     The Defendants all form a single enterprise under 29 U.S.C. § 203(r) because they

perform related activities for a common business purpose.

       17.     Each Defendant engages in activities relating to selling and servicing insurance

policies under the Texas Farm Bureau aegis.

       18.     Defendants Sloan Brown, Justin Ingram, and Jon Sharp were all supervisors of

Ward. Each had hiring and firing power over agency managers like Ward. Indeed, Ingram and

Sharp personally terminated her. Upon information and belief, all three collectively made the

decision to terminate Ward in retaliation for her refusal to sign a false affidavit in support of

Defendants overtime case in Ferguson.

       19.     Texas Farm Bureau utilizes letterhead listing (a) Texas Farm Bureau Casualty

Insurance Company; (b) Texas Farm Bureau Mutual Insurance Company; (c) Texas Farm

Bureau Underwriters; (d) Farm Bureau County Mutual Insurance Company of Texas; and (e)

Southern Farm Bureau Life Insurance Company under the umbrella of the “Texas Farm Bureau

Insurance Companies.” These companies are engaged in the selling and servicing of insurance

policies in Texas.


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       20.    All of the Defendants operate out of 7420 Fish Pond Road, Waco, Texas 76710-

1010. The Defendants keep records relating to each company and the entire enterprise at this

location.

       21.    The Defendants operate subject to common management and control. According

to Texas Secretary of State records and their website, Defendants share several officers and

directors, including, but not limited to, Russell W. Boening, President & Treasurer; Bob Reed,

Director; Vernie R. Glasson, Chief Operating Officer; and Cyndi Gerik, Chief Financial Officer

& Comptroller.

       22.    The Defendants have a unified operation, with each of the entities working

together to offer different kinds of insurance in the Texas market under a single Texas Farm

Bureau identity.

       23.    The Defendants engaged in complementary businesses and were to a significant

degree operationally interdependent. Agency Managers worked for all the Defendants, selling

insurance lines from all the companies simultaneously. Advertising was under the joint Texas

Farm Bureau logo, as were business cards issued to the Agency Managers. Agency Managers

had @txfb-ins.com email addresses. Each of the Defendants cooperated to offer different lines of

insurance under a single brand.

       24.    Relations with the non-profit Farm Bureau arm were equally intertwined. Indeed,

the Polk County Farm Bureau Board Members were charged with interviewing and ultimately

approving agency managers for Polk County, including Ward.

       25.    Defendants are an integrated enterprise and joint employers of Ward.



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       26.      Defendants, formally or as a matter of practice, jointly determine, share, or

allocate the ability to direct, control, or supervise Ward, by both direct and indirect means. For

example, Ward and other misclassified Agency Managers were supervised by District Sales

Managers who were responsible for managing the sales program for all product lines sold by the

Defendants. District Sales Managers communicated corporate initiatives, procedures, and

guidelines to Ward and other misclassified Agency Managers. Likewise, the same managers and

supervisors who oversaw Ward regarding policies issued by Texas Farm Bureau companies,

supervised them for life policies issued by Southern Farm Bureau Life Insurance Company.

       27.      Defendants, formally or as a matter of practice, jointly determine, share, or

allocate the power to—directly or indirectly—hire or fire Ward or modify the terms or conditions

of her employment. For example, Ward was subject to employment-related agreements with

each of the Defendants whereby the Defendants misclassified her as an independent contractor.

These agreements required Ward to follow guidelines, instructions, or rules contained within the

companies’ rate books, compliance manuals, and guidelines, which were subject to change at the

Defendants’ sole discretion. These same agreements reserve the Defendants’ right to terminate

Ward at will.

       28.      The relationships between all of the Defendants is permanent and longstanding.

       29.      The day-to-day experience of Ward was that “Texas Farm Bureau” (as listed on

their letterhead) was her employer, and the distinctions between the various entities under the

TFB umbrella were fairly meaningless to Ward. For example, supervisors and managers would

be described as working for “Texas Farm Bureau” and managed Ward concerning all the



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insurance lines sold, including all Texas Farm Bureau lines as well as life insurance sold by

Southern Farm Bureau Life Insurance Company.

        30.   Likewise, the nonprofit Farm Bureau arm was integrally incorporated into the

innerworkings of the Polk County Farm Bureau insurance business. For example, the nonprofit

arm executives or board members had ultimate hiring power over agency managers for Polk

County, including Ward.

        31.   Ward received pay from the Texas Farm Bureau entities and Southern Farm

Bureau Life Insurance Company. Facilities, computers, and other office supplies were supplied

by Defendants and used for all work done by Ward.


                                     FLSA COVERAGE

        32.   At all material times, Defendants were employers within the meaning of the

FLSA. See 29 U.S.C. § 203(d).

        33.   Defendants controlled the nature, pay structure, and employment relationship of

Ward.

        34.   Defendants had, at all times relevant to this lawsuit, the authority to hire and fire

Agency Managers, the authority to direct and supervise the work of Agency Managers, the

authority to sign on the companies’ checking accounts, including payroll accounts, and the

authority to make decisions regarding Agency Managers’ compensation and capital

expenditures. Additionally, Defendants were responsible for the day-to-day affairs of the

business. In particular, Defendants were responsible for determining whether they complied with

the FLSA.


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        35.   As such, pursuant to 29 U.S.C. § 203(d), Defendants acted directly or indirectly in

the interest of Ward’s employment as their employer, which makes Defendants liable under the

FLSA.

        36.   Furthermore, at all material times, Defendants have been an enterprise in

commerce or in the production of goods for commerce within the meaning of § 203(s)(1) of the

FLSA because they have had employees engaged in commerce. See 29 U.S.C. § 203(s)(1).

        37.   Defendants engaged in related activities performed through a unified operation

and common control for a common business purpose.

        38.   Defendants have had, and continue to have, an annual gross business volume in

excess of $500,000.

        39.   At all material times, Ward was an employee engaged in commerce or in the

production of goods for commerce as required by See 29 U.S.C. §§ 206–207.


         WARD WAS MISCLASSIFIED AS AN INDEPENDENT CONTRACTOR

        40.   As described in this pleading, Ward was supervised, managed, and employed by

“Texas Farm Bureau,” an enterprise comprised of several different companies or divisions. There

was no distinction made between any of the Defendants with regard to employment of Ward in

that all of the Defendants comprised “Texas Farm Bureau” as Ward’s employer, and all had

control over the scheduling, pay, continued employment, and job duties of Ward.

        41.   Ward was directly managed on a day-to-day basis by Defendants Sloan Brown,

Justin Ingram, and Jon Sharp. Each also had hiring and firing power over her.

        42.   Ward sold insurance and supervised insurance agents on behalf of Defendants.


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       43.     Ward’s managers and supervisors were Defendants Sloan Brown, Justin Ingram,

and Jon Sharp, all employees of Defendants.

       44.     These managers and supervisors had the authority to hire and fire Agency

Managers like Ward on behalf of Defendants. In fact, supervisors and managers did hire and fire

Agency Managers like Ward on behalf of Defendants.

       45.     The managers and supervisors had the authority to supervise Ward, to control

schedules and conditions of employment on behalf of “Texas Farm Bureau”, Texas Farm Bureau

Casualty Insurance Company, Texas Farm Bureau Mutual Insurance Company, Texas Farm

Bureau Underwriters, Farm Bureau County Mutual Insurance Company of Texas, and Southern

Farm Bureau Life Insurance Company. In fact, supervisors and managers did control the

schedules of Agency Managers, and the conditions of employment on behalf of Defendants.

       46.     Ward and other misclassified Agency Managers were subject to employment-

related agreements between themselves and Texas Farm Bureau Mutual Insurance Company and

Texas Farm Bureau Underwriters; themselves and Texas Farm Bureau Casualty Insurance

Company and Farm Bureau County Mutual Insurance Company of Texas; and themselves and

Southern Farm Bureau Life Insurance Company.

       47.     These agreements provide that Ward is subject to the guidelines, instructions, or

rules contained within the companies’ rate books, compliance manuals, and guidelines, which

were subject to change at the sole discretion of the companies.

       48.     These same agreements reserve the right to the companies to terminate Ward.




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         49.   These agreements reserve control over the rate and method of payment to the

companies. The companies can modify their obligations of payment by adjusting rate schedules

and the like at any time.

         50.   Defendants maintain employment records relating to Ward.


                                           FACTS

     A. Commissions Only

         53.   As an Agency Manager, Ward was not paid any base salary, and instead, was paid

exclusively commissions without any predetermined guaranteed minimum pay per week.

         54.   When she was first promoted to the Agency Manager position in May 2016,

Ward’s offer letter stated that she was to be paid only commissions with no guaranteed minimum

rate of base pay.

         55.   Defendants made no payroll tax or other withholdings from the commissions paid

to Ward and reported her income to the IRS by Form 1099 instead.

         56.   In connection with her employment with Defendants as an Agency Manager,

Ward would receive two 1099 forms for the reporting of her income to the IRS—one issued by

TFB Casualty and the other SFB Life.


B.       Long-Term Tenure Contemplated.

         57.   Ward was hired by Defendants as an agent in January 2014 for Medina County,

Texas.

         58.   Ward was first promoted to Agency Manager in May 2016.

         59.   She was moved to Polk County, Texas as an Agency Manager in October 2016.

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The standard contracts she was required to sign in connection with her transfer explicitly

contemplated a long-term period of employment (inconsistent with a bona fide independent

contractor classification), providing, for example, that termination benefits were based on

“Length of Continuous Service as agency manager” with graduating percentages depending upon

whether “Continuous Service” was “Less than 5 years,” “At least 5 but less than 6 years,” “At

least 6 but less than 7 years,” “At least 7 but less than 8 years,” “At least 8 but less than 9 years,”

“At least 9 but less than 10 years,” or “At least 10 years.”

       60.     In this regard, a December 2014 Memorandum issued to all “Employees, Agency

Managers, Agents, and CFB Secretaries” to announce the promotion of Sloan Brown to Vice

President of Sales effective January 1, 2015, describes his “career” with Defendants starting as

an agent in 1993, “tenure” for “three years as Agency Manager,” followed by employment as a

District Sales Manager from 2000 until he was promoted in 2011 to an Associate State Sales

Director position.


C.     Exclusive Relationship.

       61.     Defendants’ standard contracts for Ward also required that she work exclusively

for Defendants (inconsistent with a bona fide independent contractor classification) and could

“represent insurance companies in the state of Texas, other than Companies, only after receiving

prior written consent of the Companies to do so.”

       62.     Defendants’ standard contracts for Ward also included 2-year/50-mile radius non-

compete and non-solicitation of agents and other Agency Managers following termination of

employment (inconsistent with a bona fide independent contractor classification).


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D.     No Sub-Contracting

       63.     Defendants’ standard contracts for Ward also provided that she could not sub-

contract or assign any duties under the contracts “except with prior written consent of the

[Companies/Company]” (inconsistent with a bona fide independent contractor classification).

Thus, all services provided for Defendants by Ward were required by Defendants to be

performed by her personally.


E.     Issued Business Cards.

       64.     Defendants issued business cards to Ward (inconsistent with a bona fide

independent contractor classification).


F.     Closely Supervised By District Sales Managers.

       65.     Ward was closely supervised by Jon Sharp, her District Sales Manager who was

employed by Defendants (inconsistent with a bona fide independent contractor classification).

       66.     Job postings on Defendants’ website for a career as a District Sales Manager

include as “Major Responsibilities,” “Responsible for training and managing agency managers

in all lines of business, including adherence to Companies’ office procedures,” “Approve

account assignments to agents and agency managers,” “Conduct no more than six district

sales meetings per year and agency manager meetings as deemed necessary from specified

agendas determined by the Associate State Sales Directors and Vice President of Sales,”

“Conduct in-depth quarterly meetings with each agency manager in district to review company

goals, agency targets, agent training, manpower needs and office procedures,” “Make weekly


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site visits to the agencies as determined by the Associate Sales Directors.” (Emphasis added.)

       67.     Defendants required Ward to provide weekly and monthly reports to her District

Sales Manager.

       68.     Ward received performance evaluations from Defendants’ managers and

supervisors.


G.     Issued Company E-mail Account.

       69.     Defendants issued Ward a company e-mail account (inconsistent with a bona fide

independent contractor classification).

       70.     Ward held herself out to the public as affiliated with Defendants, including, for

example, listing the company in her e-mail signature blocks.


H.     Forced Vendor Contract With County Board and Resulting Pay Deductions.

       71.     When Ward was first promoted to the Agency Manager position in May 2016,

Defendants required her to enter into a separate “Memorandum of Understanding” with the

County Farm Bureau for their particular County and maintain a “good relationship with the

County Board [and its] secretaries.”.

       72.     Under these requisite contracts, Ward was forced to obtain from the County

Board at designated costs her (a) office space, (b) furniture, (c) local telephone service, (d) office

supplies, (e) copy and fax machines and paper for same, (f) secretaries; and (g) other clerical

assistants and insurance service representatives (“ISR’s”).

       73.     Defendants would make payroll deductions from Ward’s commission earnings to

pay these required expenses.

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       74.     Defendants also made payroll deductions from Ward’s commissions for laptop

“lease” and internet access expenses.


I.     Deductions for TFB’s Severance Obligations to Former Agency Managers.

       75.     Defendants would make payroll deductions from the commission earnings of

Ward for “buy outs” to the former Agency Managers Ward and others replaced (regardless of the

reason the former Managers were terminated—including terminations for fraud).

       76.     These “buy outs” were Defendants’ severance obligations to their former Agency

Managers that Defendants’ required Ward and other similarly situated Agency Mangers to pay

instead of Defendants’ honoring these obligations.


J.     Primary Job Duties.

       77.     The services provided by Ward and the other similarly situated Agency Managers

were integrated into Defendants’ business operation of selling insurance policies (inconsistent

with a bona fide independent contractor classification).

       78.     The primary job duties of Ward and the other similarly situated Agency Managers

was to sell insurance, recruit insurance agents, and supervise insurance agents for Defendants

whom Defendants classified as independent contractors. The vast majority of these duties were

performed inside the office space Ward was required to lease from Defendants.

       79.     Namely, Ward would solicit sales of the various insurance products provided by

Defendants and service those sales.

       80.     Ward would also assist other agents in her office solicit sales of the various

insurance products provided by Defendants and service those sales

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       81.     Ward was also required to remit money received and collected from customers to

Defendants.

       82.     Ward was required to report customer insurance claims and deliver relevant claim

information to Defendants’ adjusters or authorized representatives.


K.     Substantial Overtime Worked Without Overtime Pay.

       83.     Ward typically worked over 40 hours each workweek, with overtime hours

estimated at a minimum of five hours during slow weeks to upwards of about 25 hours per week

during busy weeks.

       84.     Notwithstanding the fact Ward was paid exclusively commissions with no

guaranteed salary and had non-exempt job duties as her primary duties, Defendants never paid

her any overtime pay.

       85.     Defendants knew they were required by the FLSA to pay an additional one and

one-half premium rate for the overtime work of Ward.

       86.     Defendants willfully failed to pay Ward any overtime. The failure to pay overtime

was a violation of the FLSA, including §§ 207(a) and 15(a)(2).


L.     Defendants terminate Ward in retaliation for refusing to sign a “happy camper”
affidavit filled with untrue statements, which supported Defendants’ opposition to the
motion for conditional certification in Ferguson.

       87.     A substantially related case involving the same Defendants is pending in the

Western District of Texas, Ferguson v. Texas Farm Bureau, et al., Cause No. 6:17-cv-111-RP.

That case involves a group of agency managers, like Ward, alleging they were misclassified as

exempt independent contractors and not paid overtime. In May 2017, these Ferguson plaintiffs

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moved to conditionally certify a collective action against Farm Bureau on behalf of agency

managers.

        88.      As an agency manager, Ward had personal knowledge of the working conditions

agency managers endure at Farm Bureau and was a member of the class the Ferguson plaintiffs

had moved to conditionally certify. Thus, Ward was not only a potential party to that case but

also an actual witness.

        89.      Farm Bureau agreed.

        90.      On June 23, 2017, Ward received an email around 3:00 p.m. with a draft affidavit

enclosed requesting that it be signed and returned by 5:00 p.m.

        91.      Ward received the email from one of her superiors.

        92.      The draft affidavit was sent to numerous Agency Managers and was to be used by

Defendants to oppose conditional certification and certain claims asserted by the Plaintiffs in

Ferguson.

        93.      Ward felt she was being pressured and intimidated to sign this affidavit given

Defendants demanded that she review and sign very quickly.3

        94.      Ward reviewed the affidavit and determined that several facts asserted in the

affidavit were untrue.

        95.      Ward therefore refused to sign the affidavit.

        96.      Shortly after Defendants learned Ward had refused to sign the affidavit, Ward

received a call from Bill Bergman. Bergman is a board member of the TFB Polk County Board.


3
 Defendants’ pressure tactic in obtaining these happy camper affidavits was addressed by Judge Pittman (See Dkt.
109 (transcript of July 13, 2017 hearing) resulting in corrective notice. (See Dkt. 136).

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Bergman informed Ward that certain executives of Defendants stated to him that if she did not

sign the affidavit, her employment would be terminated in 30 days.

       97.     Immediately after refusing to sign the affidavit, Ward noticed her immediate

supervisor, Defendant Jon Sharp , began treating her differently.

       98.     Before the affidavit incident, Sharp routinely called Ward’s cell phone to discuss

business. That stopped immediately after Ward refused to sign the affidavit. Sharp would only

call Ward’s office line as a way of putting Ward under a microscope to check on when she was

working in the office.

       99.     About 35 days after she refused to sign the affidavit, Defendants made good on

their threat of retaliation and terminated Ward’s employment.

       100.    Ward was terminated by Defendants Sharp and Ingram .

       101.    When asked by Ward what were the grounds for her termination, Ingram stated

that there was no cause and refused to elaborate.

                              COUNT I: FLSA RETALIATION

       102.    Ward incorporates all allegations contained in this pleading.

       103.    Defendants have violated Section 15(a)(3) of the FLSA, 29 U.S.C. §215(a)(3), by

retaliating against Ward and interfering with her rights under the FLSA, including:

                a.   Pressuring and intimidating Ward to quickly sign a false affidavit used by
                     Defendants for their defense of the Ferguson FLSA collective action;

                b.   Threatening Ward that she would be terminated in 30 days if she refused to
                     sign a false affidavit used by Defendants for their defense of the Ferguson
                     collective action; and

                c.   Terminating Ward’s employment with Defendants because she refused to
                     sign a false affidavit used by Defendants for their defense of the Ferguson

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                     collective action.

       104.    The FLSA’s antiretaliation provision prohibits Defendants from extracting

coerced declarations from employees like Ward in these ways. Such tactics deter employees like

Ward from participating in an ongoing investigation or litigation since they may believe that the

coerced declarations could later be used against them to claim that they perjured themselves.

       105.    Defendants’ violations of the antiretaliation provision of the FLSA were willful or

intentional as Defendants knew their coercive, threatening, intimidating acts and retaliatory

discharge against Ward violates the FLSA.

       106.    Due to this retaliatory discharge, Ward has lost wages and suffered emotional

distress and mental anguish.

       107.    Defendants are liable to Ward for her reasonable attorneys’ fees and costs.


                        COUNT II: VIOLATION OF 29 U.S.C. § 207

       108.    Ward incorporates all allegations contained in this pleading.

       109.    Defendants’ practice of failing to pay Ward time-and-a-half rate for hours in

excess of 40 per workweek violates the FLSA. See 29 U.S.C. § 207.

       110.    None of the exemptions provided by the FLSA regulating the duty of employers

to pay overtime at a rate not less than one and one-half times the regular rate at which its

employees are employed are applicable to the Defendants or Ward




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                      COUNT III: VIOLATION OF 29 U.S.C § 211(c)

       111.   Ward incorporates all allegations contained in this pleading.

       112.   Defendants failed to keep adequate records of Ward’s work hours and pay in

violation of section 211(c) of the FLSA. See 29 U.S.C. § 211(c).

       113.   Federal law mandates that an employer is required to keep for three years all

payroll records and other records containing, among other things, the following information:

                 a.     The time of day and day of week on which the employees’ work week
                        begins;

                 b.     The regular hourly rate of pay for any workweek in which overtime
                        compensation is due under section 7(a) of the FLSA;

                 c.     An explanation of the basis of pay by indicating the monetary amount
                        paid on a per hour, per day, per week, or other basis;

                 d.     The amount and nature of each payment which, pursuant to section 7(e)
                        of the FLSA, is excluded from the “regular rate”;

                 e.     The hours worked each workday and total hours worked each
                        workweek;

                 f.     The total daily or weekly straight time earnings or wages due for hours
                        worked during the workday or workweek, exclusive of premium
                        overtime compensation;

                 g.     The total premium for overtime hours. This amount excludes the
                        straight-time earnings for overtime hours recorded under this section;

                 h.     The total additions to or deductions from wages paid each pay period
                        including employee purchase orders or wage assignments;

                 i.     The dates, amounts, and nature of the items which make up the total
                        additions and deductions;

                 j.     The total wages paid each pay period; and

                 k.     The date of payment and the pay period covered by payment.

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See 29 C.F.R. §§ 516.2, 516.5.

       114.     Defendants have not complied with federal law and have failed to maintain such

records with respect to Ward. Because Defendants’ records are inaccurate and inadequate, Ward

can meet her burden under the FLSA by proving that she, in fact, performed work for which she

was improperly compensated, and producing sufficient evidence to show the amount and extent

of the work “as a matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens

Pottery Co., 328 U.S. 680, 687 (1946).


                                         WILLFULLNESS

       115.     Defendants’ method of paying Ward in violation of the FLSA was willful and was

not based on a good faith and reasonable belief that their conduct complied with the FLSA.

       116.     Defendants were aware of the FLSA’s requirement that “all non-exempt

employees be paid ‘time and a half’ their regular rate of pay for all hours worked in excess of 40

hours in a seven-day week” as evidenced by a 2014 PowerPoint presentation given to Agency

Managers by Defendants.

       117.     Defendants were aware of the specific job duties of the Agency Managers, and

were aware that those duties did not fit within any exemption to the FLSA’s requirement for

overtime pay.

       118.     Defendants knew that the position of Agency Manager as the job was intended

and was performed by Ward was consistent with an employment relationship under the FLSA

and that it would be improper to classify the Agency Managers as independent contractors.

       119.     Defendants knew or showed reckless disregard for the proper classification of

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Ward when they classified her as an exempt independent contractor.

       120.    Defendants willfully misclassified Ward’s position as exempt.

       121.    Defendants are liable to Ward for the difference between what Defendants

actually paid her and what Defendants were legally obligated to pay her.

       122.    Because Defendants knew or showed a reckless disregard for whether their pay

practices violated the FLSA, Defendants owe Ward unpaid overtime wages for at least the last

three years.

       123.    Defendants are liable to Ward in an amount equal to her unpaid overtime wages as

liquidated damages.

       124.    Defendants are liable to Ward for her reasonable attorneys’ fees and costs.


                                        JURY DEMAND

       125.    Ward hereby demands a jury trial.


                                            PRAYER

       126.    For these reasons, Ward respectfully requests that judgment be entered against

Defendants jointly and severally in Ward’s favor awarding the following relief and damages:

       a)      a judgment awarding Ward overtime compensation for all hours worked over 40 in
               a workweek at the applicable time-and-a-half rate;

       b)      an equal amount of all owed wages as liquidated damages as allowed under the
               FLSA;

       c)      lost wages and liquidated damages equal to the lost wages pursuant to 29 U.S.C.A.
               § 216(b);

       d)      future lost wages as front pay pursuant to 29 U.S.C.A.§ 216(b);


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 e)   compensatory damages including but not limited to damages for mental anguish
      and emotional distress;

 f)   pre-judgment interest;

 g)   punitive damages for Defendants’ intentional act of retaliatory discharge in
      express violation of section 15(a)(3) of the FLSA;

 h)   all costs and attorney’s fees incurred prosecuting these claims; and

 i)   such other relief to which Ward may be entitled, at law or in equity.

                                         Respectfully submitted,

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